      Case 8-14-72784-reg             Doc 41      Filed 10/14/14     Entered 10/14/14 09:36:20




 LAW OFFICE OF BYRON PAUL YOST                                       Hearing Date: Nov. 10, 2014
 50 Washington Street, 4th Floor                                     Hearing Time: 1:30 p.m.
 Norwalk, Connecticut 06854
 (267) 626-8160
 Byron Paul Yost, Esq.
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                     and

 LAW OFFICES OF SCOTT A. STEINBERG
 626 RXR Plaza, West Tower
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 Scott A. Steinberg, Esq.
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 Attorneys for Joseph V. Curcio

 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 In re:

          ANTHONY RIVARA,                                            Chapter 11
                                                                     Case No. 8-14-72784 (REG)
                               Debtor.
 ----------------------------------------------------------------X


                NOTICE OF HEARING ON MOTION FOR DETERMINATION
               OF APPLICABILITY OF DEADLINES TO JOSEPH V. CURCIO


        PLEASE TAKE NOTICE, that upon the annexed application (the "Application") of

Joseph V. Curcio (“Curcio”), the undersigned will move this Court, before the Honorable

Robert E. Grossman, United States Bankruptcy Judge, at the United States Bankruptcy

Court, Eastern District of New York, Alfonse D’Amato Federal Courthouse, Federal

Plaza, Central Islip, New York 11722 on the 10th day of November, 2014 at 1:30 o’clock

p.m., or as soon thereafter as counsel may be heard for an Order, a copy of which is

annexed to the Application, determining that the deadlines previously set by the
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Bankruptcy Court for the filing of a complaint objecting to the Debtor’s discharge and/or

the discharge of particular debts, are inapplicable to Curcio, together with such other

and further relief as may be just and proper under the circumstances.

       PLEASE TAKE FURTHER NOTICE, that responsive papers, if any, must be filed

with Court on the Court’s website, www.nyeb.uscourts.gov (Login and Password

required), with a copy delivered directly to Chambers, and served and received by

counsel to Joseph V. Curcio, Law Office of Byron Paul Yost, 50 Washington Street, 4th

Floor, Norwalk, Connecticut 06854 and the Law Offices Of Scott A. Steinberg, 626 RXR

Plaza, West Tower, Uniondale, New York 11556, no later than seven (7) days prior to

the date of the hearing.

Dated: Uniondale, New York
       October 14, 2014
                                         LAW OFFICE OF BYRON PAUL YOST
                                         50 Washington Street, 4th Floor
                                         Norwalk, Connecticut 06854
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                                                         and

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                                         By: /s/ Scott A. Steinberg
                                                 Scott A. Steinberg (ss8646)

                                         Attorneys for Joseph V. Curcio
